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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Leslie Lindsey
                                       Plaintiff,
v.                                                     Case No.: 1:19−cv−01753
                                                       Honorable Rebecca R. Pallmeyer
Chicago Housing Authority, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 22, 2019:


        MINUTE entry before the Honorable M. David Weisman: At the parties request
by agreement, the deadline for issuing written discovery is extended to 8/30/19. Mailed
notice (ao,)




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